
**77This matter having come before the Court upon the filing of a Petition for Disciplinary or Remedial Action, with attached certified copy of an Order entered January 5, 2017, whereby the Supreme Court of Florida suspended Pamela Bruce Stuart from the practice of law in Florida for one year, effective thirty days from the date of the Order; and it appearing that said Pamela Bruce Stuart is admitted to the Bar of this Court;
NOW, THEREFORE, it is this 30th day of June, 2017,
ORDERED, by the Court of Appeals of Maryland, in accordance with Maryland Rule 19-737(d), that Pamela Bruce Stuart, Respondent, is hereby suspended, effective immediately, from the practice of law in the State of Maryland, pending **78further order of this Court; and it is further ORDERED, that the Clerk of this Court shall strike the name of Pamela Bruce Stuart from the register of attorneys in this Court and comply with the notice provisions of Maryland Rule 19-761(b).
